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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND


UNITED STATES OF AMERICA                       *

        V.                                     *                        Cr. No. JKB-16-363

KENNETH FAISON                                   *

          Defendant                            *
          *
For: KENNETH FAISON                            *

           MOTION TO SUPPRESS RESULTS OF CELL PHONE SEARCH

     Kenneth Faison, defendant, by his undersigned counsel, hereby moves this

Honorable Court to exclude from evidence introduction of the results of a search of his

cell phone seized from him on November 15, 2016, and as grounds states:

1.   Defendant, Kenneth Faison, is charged in the above-captioned superseding

     indictment (ECF 40) with racketeering (count one) and conspiracy to possess with

     the intent to distribute narcotics (count two).

2.   Although the indictment does not allege a starting date for the racketeering

     conspiracy, the overt acts in the indictment allege activities from 2005 to as late as

     June 30, 2016.     The indictment likely includes all acts until the date of its filing,

     November 9, 2016.

3.   The last overt act alleged against Mr. Faison occurred on December 19, 2012. Para.

     47.     Faison was arrested on that date and remained incarcerated until September 26,

     2016.

4.   The indictment does not allege, nor is there any evidence to show, that Mr. Faison

     used a cell phone during the period of the conspiracy prior to his 2012 incarceration..
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5.   Unlike many defendants who come before this Court, Mr. Faison did not have a cell

     phone while in jail.

6.   Following his release on September 26, 2016, Mr. Faison obtained a cell phone.

7.   Mr. Faison was arrested in the instant matter on November 15, 2016.       At that time,

     his cell phone was seized.

8.   Subsequent to the seizure, Mr. Faison’s cell phone was searched.

9.   A search warrant is required before a cell phone can be searched without consent.

     Riley v. California, 573 U.S. ___, 134 S.Ct. 2473 (2014).     A warrant was obtained

     based on a affidavit.

10. The affidavit in this case lacks any scintilla of probable cause.   The affidavit alleges

     only activities by Mr. Faison prior to his incarceration in 2012 - nothing is alleged in

     the affidavit that he was in any way involved in criminal activity from September 29,

     2016, until November 15, 2016.

11. “The fourth amendment bars search warrants issued on less than probable cause, and

     there is no question that time is a crucial element of probable cause. A valid search

     warrant may issue only upon allegations of "facts so closely related to the time of the

     issue of the warrant as to justify a finding of probable cause at that time.”   United

     States v. McCall, 740 F.2d 1331, 1335-36 (4th Cir. 1984).

12. Staleness in an affidavit can be due to a delay in executing an otherwise valid warrant.

     Such is not the issue here.

13. In addition, “the warrant itself may be suspect because the information on which it

     rested was arguably too old to furnish ‘present’ probable cause.” Id., at 1336.
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14. Any probable cause related to Mr. Faison had a chronological terminus in 2012.

    Any such evidence, without any indication that Mr. Faison was rejoining any illegal

    activity, is far too old to be relied upon by either a signing judge or an executing

    officer.

15. Therefore, despite the issuance of a warrant, the search is not saved by the principles

    outlined in United States v. Leon, 468 U.S. 897 (1984).

16. “[E]vidence seized pursuant to a warrant supported by ‘stale’ probable cause is not

    admissible in a criminal trial to establish the defendant's guilt.”   McCall, at 1336.

    WHEREFORE, defendant Kenneth Faison moves this Honorable Court to exclude

from evidence introduction of the results of a search of his cell phone seized from him on

November 15, 2016.

                                    Respectfully submitted,

                                       _______/s/__________________
                                       Richard Bardos
                                       Schulman, Hershfield & Gilden, P.A.
                                       1 East Pratt Street, 9th Floor
                                       Baltimore, Maryland 21202
                                       (410) 332 0850


                             CERTIFICATE OF SERVICE

    I HEREBY CERTIFY that on this 1st of August, 2017, a copy of the foregoing
Motion was served electronically via ECF to: Office of the United States Attorney, 36
South Charles Street, Fourth Floor, Baltimore, Maryland 21201 and all defense counsel.

                               _____/s/______________________
                               Richard Bardos
